                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

ESTATE OF JAY ANDERSON, JR.
by Special Administrator, Starkeisha DeLaRosa;
J.A. minor child, through her next friend Starkeisha DeLaRosa,

                          Plaintiffs,                                         CASE NO. 2:21-cv-00848
v.

CITY OF WAUWATOSA,
JOSEPH ANTHONY MENSAH, and
FORMER CHIEF OF POLICE BARRY WEBER,

                  Defendants.
______________________________________________________________________________

                 DEFENDANTS’ PROPOSED FINDINGS OF FACT
             IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
______________________________________________________________________________

        Defendants, by their attorneys, Wirth + Baynard, submit the following Proposed Findings

of Fact in support of their Motion for Summary Judgment.

        The Parties

        1.       At the time of his death on June 23, 2016, Jay Anderson Jr. was an adult resident

of the State of Wisconsin. (ECF 471, Amend. Compl. ¶ 9)

        2.       Plaintiff Starkeisha DeLaRosa is an adult resident of the State of Wisconsin and

serves as the representative of the Estate of Jay Anderson. (ECF 47, ¶ 9)

        3.       Plaintiff J.A. is the minor child of Jay Anderson, Jr., and is represented through her

mother, Starkeisha Delarosa. (ECF 47, ¶10)

        4.       Defendant City of Wauwatosa is a Wisconsin municipal corporation whose

principal offices are located in Wauwatosa, Wisconsin. (ECF 47, ¶ 11)


1
  ECF 47 refers to the Amended Complaint filed in Eastern District Case No. 21-cv-01179. All other ECF
referenced documents were filed in consolidated Case No. 21-cv-848.



         Case 2:21-cv-00848-LA             Filed 07/24/23        Page 1 of 17         Document 79
       5.      Defendant Barry Weber is the former Chief of Police for the City of Wauwatosa

and is named in his individual capacity. (ECF 47, ¶ 15; see also ECF 54, Order, p. 4)

       6.      At all relevant times, Defendant Joseph Mensah (Officer Mensah) was a police

officer with the Wauwatosa Police Department. (ECF 77-1, Exh. A, 3/17/22 Deposition of Joseph

Mensah, p. 102)

       Jurisdiction and Venue

       7.      This action arises under the Fourth and Fourteenth Amendments to the United

States Constitution and 42 U.S.C. § 1983. The Court has jurisdiction over the Plaintiffs’ federal

claims pursuant to 28 U.S.C. §§ 1331 and 1343. (ECF 47, ¶ 7)

       8.      The Eastern District of Wisconsin is the proper federal venue for this action

pursuant to 28 U.S.C. § 1391(b) because it is where all acts alleged in the Amended Complaint

occurred. (ECF 47, ¶ 8)

       The June 23, 2016, Critical Incident at Madison Park

       9.      On the night of June 22, 2016, and into the morning of June 23, 2016, Officer

Mensah was working the late shift in full uniform as a patrol officer for the Wauwatosa Police

Department. (ECF 77-6, Exh. F, 02/28/2023 Deposition of Joseph Mensah (hereinafter Mensah

2/28/23 Dep.) pp. 7, 143)

       10.     Officer Mensah was assigned to patrol squad area 5 in the City of Wauwatosa,

which encompasses Madison Park. (Mensah 2/28/23 Dep. pp 7–8, 143)

       11.     It was Officer Mensah’s responsibility to do parking enforcement in his assigned

area, including checks of Madison Park, which he did “just about every night” as part of his routine

patrol. (Mensah 2/28/23 Dep. pp. 9-10, 141; see also ECF 77-1, Ex. K, Deposition of Stephen

Mills (hereinafter Mills Dep.) p. 57)




                                                 2
        Case 2:21-cv-00848-LA           Filed 07/24/23    Page 2 of 17      Document 79
       12.     Madison Park closes at 10:00 p.m. and being in the park after hours is a violation

of Milwaukee County Ordinance § 47.27, which provides “no person shall remain in the park or

parkways during the hours they are closed.” 2 (Mensah 2/28/23 Dep. pp. 23-25, 55)

       13.     It was one Officer Mensah’s patrol responsibilities to routinely check Madison Park

after hours and investigate the presence of anyone found in the park, ascertain their reasons for

being in the park, eliminate the possibility of medical distress, and ensure there was no illicit or

illegal activity whether it’s doing drugs, having sex, or engaging in any activity that violates any

city, county, or state ordinances, and welfare checks. (Mensah 2/28/23 Dep. pp. 11-12, 30, 55)

       14.     In Mensah’s prior experience encountering people in the park after hours, the

presence of police would result in the individuals leaving the park upon his approach or upon his

request. (Mensah 2/28/23 Dep. pp. 23-24, 88, 141; see also Mills Dep. p. 59)

       15.     Officer Mensah has never written a ticket for an after-hours ordinance violation.

(Mensah 2/28/23 Dep. pp. 23-24, 141)

       16.     On June 23, 2016, around 12:30 a.m. Officer Mensah went to Madison Park to

conduct a park check and encountered an individual who he instructed to leave. (Mensah

2/28/23 Dep. pp. 12, 133)

       17.     At 3:01 a.m., Officer Mensah entered Madison Park to conduct another park check

and observed a single vehicle parked in the center of the lot and noticed at least one person was in

it. (Mensah 2/28/23 Dep. pp. 12, 15)

       18.     Officer Mensah parked his squad facing the front of the suspect vehicle and turned

on his bright illumination lights referred to as “take down lights,” which allowed him to see inside



2
 https://library.municode.com/wi/milwaukee_county/codes/code_of_ordinances?nodeId=MICOCOGEORVOI_CH4
7PAPA_SUBCHAPTER_IINGE_47.28PEOBPE



                                                 3
        Case 2:21-cv-00848-LA          Filed 07/24/23     Page 3 of 17      Document 79
the vehicle and observe movement in the vehicle. (Mensah 2/28/23 Dep. pp. 16-17, 29)

         19.   Officer Mensah observed an occupant in the front driver seat who appeared to be

sleeping. (Mensah 2/28/23 Dep. pp. 18, 29)

         20.   At 3:02 a.m., Officer Mensah radioed dispatch and advised them of his location at

Madison Park and of the presence of an occupied auto. (Mensah 2/28/23 Dep. p. 48; ECF 76-16,

Roy Decl. Exh. Q Radio Traffic Transmissions (hereinafter Radio Trans.) at 0:00:01)

         21.   It was standard practice at the Wauwatosa Police Department that dispatch would

automatically send a second squad as back up in response to a report of an occupied auto. (Mensah

2/28/23 Dep. pp. 87-88; Mills Dep. p. 59)

         22.   At 3:02:44, dispatch sent Wauwatosa Police Officer Salyers, who was operating

Squad 318, to Madison Park. (Radio Trans. at 0:00:05)

         23.   While waiting for backup, Officer Mensah exited his squad and walked around to

the back of the vehicle to get the license plate number. (Mensah 2/28/23 Dep. pp. 15-18, 25)

         24.   A 3:03 a.m., Officer Mensah radioed dispatch and requested a license plate of the

occupied auto. (Radio Trans. at 0:00:55; Mensah Dep. pp. 17, 27-28, 48)

         25.   At 3:04 a.m., dispatch advised Mensah that the vehicle had not been reported as

stolen and was registered to Elena DeLaRosa. (Radio Trans. at 0:01:24; Mensah 2/28/23 Dep. pp.

56-57)

         26.   Officer Mensah approached the suspect vehicle from the passenger side to attempt

to make contact with the driver, and the passenger's front window was rolled up. (Mensah 2/28/23

Dep. pp. 35-36, 143)

         27.   Based on Officer Mensah’s training and experience, there are multiple ways to

approach a vehicle; a passenger side approach is one of those. Approaching from a passenger side




                                                4
         Case 2:21-cv-00848-LA       Filed 07/24/23     Page 4 of 17      Document 79
in this type of vehicle contact you can get a better view into the vehicle. (Mensah 2/28/23 Dep pp.

143-145)

       28.     Officer Mensah knocked on the passenger front window, identified himself as

police and told the driver that he needed to speak to him. After a couple of times repeating

himself, the driver woke up again, turned the key in the ignition and rolled down the passenger

front window. (Mensah 2/28/23 Dep. pp. 36-38, 102)

       29.     Officer Mensah asked the driver (Anderson) if he had a driver’s license or

identification, to which Anderson responded “no.” (Mensah 2/28/23 Dep. pp. 38-39)

       30.     It was later determined that Anderson did not have a driver’s license but did

have a state-issued ID card. (Mensah 2/28/23 Dep. p. 99; Baynard Supplemental Decl. Exhibit

T, Deposition of Troy Porter (hereinafter Porter Dep.) p. 20)

       31.     Officer Mensah did not observe Mr. Anderson to be intoxicated, nor did he report

Anderson to have slurred speech. (Mensah 2/28/23 Dep. p. 121)

       32.     Officer Mensah was standing about an arm's length away from the passenger front

door while addressing Anderson, and observed Anderson make several glances over to the

passenger seat then look back up at Mensah. (Mensah 2/28/23 Dep. pp. 39-41)

       33.     Officer Mensah stepped closer to the car and looked down into the passenger

seat. He spotted a semi-automatic handgun, with its magazine inserted, on Anderson’s front

passenger seat. (Mensah 2/28/23 Dep. pp. 41, 112-113)

       34.     When Officer Mensah saw the gun he stepped back, radioed dispatch that

Anderson had a gun and requested additional assistance. (Mensah 2/28/23 Dep. pp. 46, 59,

105-106; Radio Trans at 03:06:18)

       35.     At 3:06 a.m., Officer Mensah radioed, “Step it up. He has a gun.” (Radio Trans.




                                                5
        Case 2:21-cv-00848-LA         Filed 07/24/23     Page 5 of 17      Document 79
at 03:06:18; see also Mensah 2/28/23 Dep. pp. 59, 46, 105-106)

          36.   Officer Mensah knew the phrase “step it up” would prompt dispatch to send all

squads to his location. (Mensah 2/28/23 Dep. pp. 79-80)

          37.   Based on his training and experience, Officer Mensah knows that action is

quicker than reaction, which is why he unholstered his weapon in response to observing the gun

on Anderson’s front seat. (Mensah 2/28/23 Dep. pp. 40, 91, 94)

          38.   Officer Mensah kept his gun at the low ready position and told Anderson that he

saw the gun and told Anderson not to reach for it. (Mensah 2/28/23 Dep. pp. 41-42, 59, 91)

          39.   Anderson reached toward the front passenger seat again and Officer Mensah

ordered Anderson not to reach for the weapon. (Mensah 2/28/23 Dep. pp. 59 -60)

          40.   Officer Mensah saw Anderson make at least 4 separate movements with his right

arm toward the front passenger seat. (Mensah 2/28/23 Dep. pp. 59-60, 112-114)

          41.   Officer Mensah warned Anderson a few times to keep his hands up, and then

Anderson told Mensah, “it’s nothing; there’s nothing there.” (Mensah 2/28/23 Dep. pp. 66-

67, 91)

          42.   In response to Anderson continuing to reach for the gun, Officer Mensah

pointed his gun at Anderson and again ordered him to not reach for the gun. (Mensah 2/28/23

Dep. pp. 41-42)

          43.   Officer Mensah gave Anderson strong forceful commands to not reach for the gun.

(Mensah 2/28/23 Dep. pp. 61, 92-94)

          44.   The last time Anderson made a movement, instead of just his right arm moving

toward the gun on the seat, his whole body lunged toward it. (Mensah 2/28/23 Dep. pp. 58-60,

112-114; see also ECF 77-17, Exh. O Mensah Squad Video (hereinafter Mensah Squad) at




                                               6
          Case 2:21-cv-00848-LA       Filed 07/24/23    Page 6 of 17     Document 79
03:07:14)

       45.    When Anderson made this movement, Officer Mensah believed that Anderson

was reaching toward the firearm that was located on the front passenger seat. (Mensah 2/28/23

Dep. pp. 74, 142:19-143:5)

       46.    After Anderson moved his body towards the passenger seat where the gun was

located, Officer Mensah immediately discharged his firearm six times as he disengaged, walking

backwards. (Mensah 2/28/23 Dep. at 114; see also Mensah Squad at 03:07:14)

       47.    At 3:07:19 Officer Mensah radioed “Shots fired.” (Radio Trans. at 0:4:40)

       48.    At 3:08 a.m. EMS-advanced life support was dispatched. (Radio Trans. at

approximately 0:05:43).

       49.    Immediately after discharging his weapon Mensah pressed the button on his

squad mic that activated his squad car's dash camera. The squad car's dash camera goes back

30 seconds without audio. (Mensah 2/28/23 Dep. pp. 82, 105)

       50.    Officer Mensah remotely activated his squad camera immediately after

discharging his firearm because he knew it was just him and Anderson and he wanted people

to believe him. He knew there was going to be an investigation and he wanted to make sure

he captured what happened. (Mensah 2/28/23 Dep. pp. 83, 105, 147-148)

       51.    Officer Mensah remotely activated his squad camera immediately after discharging

his firearm because he knew it was just him and Anderson and he wanted the incident to be

documented. (Mensah 2/28/23 Dep. pp. 147-148)

       52.    Officer Mensah’s squad video starts at 3:06:55 and shows Officer Mensah standing

on the passenger side of the vehicle with his firearm pointing at Anderson. (Mensah Squad at

03:06:55)




                                              7
       Case 2:21-cv-00848-LA        Filed 07/24/23     Page 7 of 17     Document 79
       53.     During the 28-second video, Anderson dropped his right hand towards the

passenger seat, raised it for an instant and then quickly dropped it again and he leaned towards the

front set where the gun was located. (Mensah Squad at 03:06:55 – 03:06:7:12)




       54.     At 3:08 a.m., Wauwatosa Police Officers Ralph Salyers radioed Officer Mensah

and asked if it’s safe to come in. Soon after Officers Salyers and Mills entered the parking

lot and arrived on scene. (Radio Trans. at 0:05:43; see also ECF 77-10, Exh. J, Ralph Salyers

Deposition (hereinafter Salyers Dep.) p. 16; ECF 77-11, Exh. K, Stephen Mills Deposition

(hereinafter Mills Dep.) p. 12; see also Salyers Squad at 03:08:17)

       55.     After arriving on scene, Officer Mills with his handgun drawn, and Officer

Salyers, with a long gun, and Officer Mensah approached the car to assess whether Anderson

remained a threat. (Salyers Dep. pp. 19-20; Mills Dep. p. 13; see also Salyers Squad at

03:10:40)

       56.     Officer Salyers and Officer Mills observed the black semi-automatic handgun

located on the front passenger seat of Anderson’s car within reach of Anderson’s right hand.


                                                 8
        Case 2:21-cv-00848-LA         Filed 07/24/23      Page 8 of 17      Document 79
(Salyers Dep. pp. 28-29, 35-36; Mills Dep. pp. 19-20)

       57.     Officer Mensah told Officers Salyers and Mills that the gun is “right next to him on

the passenger seat.” (Baynard Supplemental Decl. Exh. U, Salyers Squad Video at 3:10)

       58.     Officer Salyers believed it was best to remove the firearm for safety reasons

because the Fire Department was staging, and they would not come in until the scene was safe.

(Salyers Dep. pp. 33-34, 43-46; Mills Dep. pp. 20-21)

       59.     At approximately 3:12:02 Officer Mills approached the passenger side of the

vehicle, reached, and grabbed the gun off the front passenger seat and secured it in his trunk. (Mills

Dep. pp. 21, 23, 25-28; Salyers Squad 03:12:07)

       60.     After securing the firearm, the officers pulled Anderson from the vehicle and

conducted a pat down search. (Salyers Dep. p. 46, 52-53)

       61.     By then, a third Wauwatosa officer helped Salyers move Anderson from the car to

the ground as the Wauwatosa medical unit arrived and began administering first aid. (Salyers Dep.

pp. 48-50)

       Wauwatosa Police Department Procedure for Officer-Involved Shooting

       62.     The Wauwatosa Police Department follows the process outlined in WPD policy

titled Investigation of Law Enforcement Involved Fatalities/Great Bodily Harm, after all Officer

Involved fatalities. (Baynard Supplemental Decl. Exh. S, Barry Weber 7/7/23 Deposition

(hereinafter Weber 7/7/23 Dep.) pp. 72-76)

       63.     At the time of the June 23, 2016, shooting it was the policy of the Wauwatosa Police

Department that officers are placed on administrative leave pending the investigation into the

critical incident. (ECF 76 ¶ 6; ECF 76-3, Exh. C1 p. 4; see also Baynard Supplemental Decl. Exh.

S, Barry Weber 7/7/23 Deposition (hereinafter Weber 7/7/23 Dep.) pp. 74-75)




                                                  9
        Case 2:21-cv-00848-LA          Filed 07/24/23      Page 9 of 17       Document 79
         64.    Officer Mensah was placed on administrative leave after the Anderson critical

incident. (ECF 76 ¶ 30; ECF 76-21; see also Weber 7/7/23 Dep. at 74-75)

         65.    At the time of the June 23, 2016, Anderson shooting incident, it was the policy of

the Wauwatosa Police Department that Officers involved in a fatality attend counseling and

evaluation with an approved specialist prior to returning to full duty patrol. (ECF 76 ¶ 6; ECF 76-

3, p. 4; Weber 6/6/23 Dep. pp. 68-69; see also Weber 7/7/23 Dep. p. 76)

         66.    After the June 23, 2016, Anderson shooting incident, Officer Mensah was referred

to licensed professional counselor, Jay Schrinsky, for evaluation and counseling regarding the

critical incident. (Mensah 2/28/23 Dep. pp. 123-125, 138-139; Weber 6/6/23 Dep. pp. 231-232;

see also Weber 7/7/23 Dep. pp. 76-77 citing ECF 76-22 Schrinsky Ltr.)

         67.    Officer Mensah met with Jay Schrinsky at ABC Medical Clinics on June 30, July

6, August 3, August 24, and September 13, 2016. (Mensah 2/28/23 Dep. p. 125; ECF 76-22)

         68.    On December 7, 2016, Dr. Bauman evaluated Joseph Mensah for the purpose of

providing a Fitness for Duty evaluation. (ECF 77-5, Exh. E; see also Weber 7/7/23 Dep. 87-88,

96-97)

         69.    Dr. Bauman “found Officer Mensah to be competent and capable of rendering

appropriate Law Enforcement service to the Wauwatosa community” and cleared him to return to

full duty. (ECF 77-5)

         70.    As part of that evaluation, Dr. Bauman conducted a face-to-face assessment with

Officer Mensah, communicated with Captain Tim Sharpee, and reviewed his personal history,

current stressors, and specific experiences leading to the assessment. Specifically, Dr. Bauman

determined:

         The results of the current assessment indicate a person of strong psychological
         health. From the perspective of his psychological health, I certify that Officer



                                                10
         Case 2:21-cv-00848-LA       Filed 07/24/23      Page 10 of 17      Document 79
         Mensah can perform Patrol Officer duties without restriction ….”

(Baynard Supp. Decl. ¶ 3, Exh. M, Bauman Fitness for Duty Report pp.1-2)

         71.    On December 12, 2016, Mensah returned to full duty on patrol. (ECF 76 ¶ 30; ECF

76-21; see also Weber 7/7/23 Dep. pp. 75-76)

         Investigations into the June 23, 2016, Critical Incident

                Milwaukee Police Department Metro Unit

         72.    Wisconsin Act 348 mandates that an outside agency must investigate all police

related critical incidents. (ECF 76 ¶ 6, ECF 76-3 Exh. C1)

         73.    In accordance with Wisconsin Act 348, it was the policy of the Wauwatosa Police

Department that the Milwaukee Police Department (Metro Unit) lead the investigation of any

officer-involved or in-custody death, excluding traffic related officer-involved deaths. (ECF 76 ¶

6, ECF 76-3; see also ECF 76-3, Mastrocola Dep. pp. 38-39, 54-55)

         74.    The Milwaukee Police Department Metropolitan Division lead the investigation

into the Anderson critical incident. (Baynard Supplemental Decl. Exh. T, Deposition of Troy

Porter (hereinafter Porter Depo) at p. 6)

                Milwaukee County District Attorney Review

         75.    On or before December 5, 2016, the Milwaukee Police Department concluded their

investigation and turned over their findings to the Milwaukee County District Attorney to review

the matter for potential criminal prosecution. See generally (ECF 76-20; Weber 7/7/23 Dep. pp.

59-60)

         76.    On December 5, 2016, the Milwaukee County District Attorney declined to bring

criminal charges and concluded that the conduct of Officer Joseph Mensah on June 23, 2016, was

privileged in self-defense and justified under Wisconsin law. See generally (ECF 76-20)




                                                11
         Case 2:21-cv-00848-LA        Filed 07/24/23    Page 11 of 17       Document 79
               Wauwatosa Police Department Internal Investigation

       77.     At the time of the June 23, 2016, critical incident, it was the policy of the

Wauwatosa Police Department Police Chief to order a separate internal investigation to determine

whether any officers violated department rules, regulations, or policies and to identify any potential

training deficiencies in all officer-involved fatalities. (Roy Decl. ¶ 6, Exh. C; Weber 7/7/23 Dep

pp. 63-65; see also Weber 6/6/23 Dep. pp. 100-102)

       78.     Lt. Jeffrey J. Farina and Sgt. Michael Schultz were assigned to conduct the

Administrative Review of the Officer Involved Shooting of Jay Anderson Jr. to determine if

actions taken by Officer Mensah were consistent with the rules, regulations, polices, and

procedures of the Wauwatosa Police Department, as well as identify any potential training

deficiencies that may have occurred. (ECF 77-8 Jeffrey Farina Deposition (hereinafter Farina

Dep.) p. 29-31 referencing ECF 77-9)

       79.     The Administrative Review determined that the actions of Officer Mensah were

objectively reasonable, and the use of deadly force was justified, concluding that:

       This incident began as a lower-level police interaction that was completely
       controlled by Jay Anderson and his actions. If Anderson would not have reached
       for a firearm and if he would have listened to Officer Mensah’s orders, this would
       have ended up as a “routine” officer/citizen contact. However, due to Anderson’s
       actions we will never know. Very soon as arriving on scene, Officer Mensah was
       faced with a deadly force threat that would cause any reasonable officer to act as
       Officer Mensah did.

       The investigation showed Officer Mensah gave Jay Anderson many opportunities
       to comply with his orders before he was forced to make the hardest decision, we
       ask of law enforcement officers. The investigation revealed that Jay Anderson was,
       at several points, complying with the orders from Officer Mensah not to reach for
       the gun. Jay Anderson decided to ignore the officers’ orders and reach for the gun,
       changing the outcome of this incident.

       (ECF 77-9 at p. 13)




                                                 12
       Case 2:21-cv-00848-LA          Filed 07/24/23      Page 12 of 17       Document 79
                  US Department of Justice Review

         80.      On February 16, 2017, the U.S. Department of Justice (DOJ) also reviewed the

matter and declined to press charges against Officer Mensah for his actions in shooting Anderson,

relying on the following points of evidence:

         Officer Mensah’s explanation for the shooting was that he acted reasonable to
         protect himself from deadly force because there was a loaded hand gun on the front
         passenger seat of Mr. Anderson’s car and Mr. Anderson kept reaching for it despite
         the officers’ command not to do. No evidence contradicts Mensah factually. His
         statements over the radio to other police officers corroborate him, or at least his
         belief about Mr. Anderson’s gun.

         A number of key pieces of evidence contradict Mensah’s version. When other
         police officers arrived, they found a loaded hand gun on the front passenger seat,
         just as Mensah stated. Mr. Anderson’s DNA was found on that gun.

         The video recording of the incident from Officer Mensah’s squad car indicates that
         Mr. Anderson did repeatedly move his arm towards the gun as Mensah confronted
         him. Ultimately, Anderson did lean his whole body down toward this gun just
         before Mensah started firing.

See generally (ECF 76 ¶ 33, ECF 76-23p. 1)

                  Special Prosecutor Review

         81.      This matter was also reviewed by two special prosecutors who issued a final report3

on June 1, 2022, concluding in part:

         We believe a jury would rely heavily on Mensah’s dash camera video to answer the
         key questions in this case. The video captures the actions of Anderson and Mensah
         shortly before and during the shooting. The video confirms that Anderson
         disregarded Mensah’s commands to keep his hands up and instead reached towards
         the passenger seat where his gun was laying. These actions would have caused a
         reasonable person to fear an imminent threat of death or great bodily harm and to
         use deadly force to protect themselves.



3
  The Final Report on Charging Decision (Docket 108) in Milwaukee County Case No. 2020JD000015 is a public
record and appropriate subject of judicial notice. In the Matter of Lisse, 905 F.3d 495, 496 (7th Cir. 2018); see also
Menominee Indian Tribe v. Thompson, 161 F.3d 449, 456 (7th Cir. 1998); Fed. R. Evid. 901(b)(7).




                                                         13
        Case 2:21-cv-00848-LA               Filed 07/24/23          Page 13 of 17          Document 79
       Training, Policy, and Practice Claims

               WPD Hiring Process

       82.     Under Wisconsin Law all police officers have to undergo psychological

preemployment test before they can be certified through the state. As such, all officers hired by

the Wauwatosa Police Department are required to undergo a preemployment psychological

screening to determine their fitness for duty, from a psychological standpoint. (ECF 77-2, Weber

9/16/22 Dep. pp. 46-47)

       83.     Prior to his employment with Wauwatosa Police Department, Officer Mensah

underwent a preemployment psychological screening with Dr. Bauman and was deemed fit for

duty by Dr. Bauman. (ECF 77-2, Weber 9/16/22 Dep. pp. 55, 251; ECF 77-7 Weber 6/6/23 Dep.

pp. 98-99 referencing Baynard Supp Decl. Exh. L; see also ECF 77-1 Mensah 3/17/22 Dep. p.

129)

               Use of Force Training

       84.     Officer Mensah received use of force training at the police academy, through the

Wisconsin DAAT manual and while a field training officer at Wauwatosa Police Department.

(Mensah 2/28/23 Dep. at 254-244)

       85.     At that time of the June 23, 2016, Anderson critical incident, the Wauwatosa Police

Department trained officers that the use of deadly force is justified in the following circumstances:

               (a)     Protect the officer or others from what is reasonably believed
                       to be an imminent threat of death or great bodily harm.

               (b)     When it is necessary to prevent the escape of a fleeing
                       violent felon whom the officer has reasonable belief poses
                       an imminent threat of death or great bodily harm to the
                       officer or others.

               (c)     If feasible the officer must give some verbal warning prior
                       to the use of deadly force.



                                                 14
       Case 2:21-cv-00848-LA          Filed 07/24/23      Page 14 of 17       Document 79
(ECF 76 ¶ 12, ECF 76-10 WPD Use of Force Policy p. 7)

       86.    Officer Mensah has been trained that if there is an imminent threat of death or great

bodily harm you are allowed to use deadly force to stop that threat. (Mensah 3/17/22 Dep. p. 190;

Mensah 6/26/23 Dep. pp. 269-270; see also ECF 76 ¶ 12-14 & ECF 76-10)

       87.    The DAAT manual in effect at the time of the Anderson incident trained officers

that for a threat to be considered imminent it must meet three criteria: Intent, Weapon, and

Delivery System. (Roy Decl. ¶ 21, Exh. K, pp. 65-66; see also Mensah 2/28/23 Dep. pp. 140-141)

       88.    At the time of the shooting, Anderson was in possession of a firearm, which

constitutes a weapon. (Mensah 2/28/23 Dep. p. 41; see also Mills Dep. p 19)

       89.    The gun was on Anderson’s passenger seat within Anderson’s reach, which, based

on Officer Mensah’s training, contributes to the delivery system. (Mensah 2/28/23 Dep. pp. 140-

141)

       90.    At the time that Officer Mensah fired, Anderson was reaching for the firearm,

which demonstrates his intent. (Mensah 2/28/23 Dep. pp.141-142; Mensah Squad at 03:07:14)

       91.    On June 23, 2016, Officer Mensah shot Anderson because he believed Anderson

posed an imminent and deadly threat because he reached for the gun after being instructed not to

do so. (Mensah 2/28/23 Dep. p. 142)

       92.    Mensah did not shoot Anderson because he thought he was reaching for a cellphone

or anything else on the seat. At that time of the shooting, Officer Mensah did not recall seeing

anything else on the seat. (Mensah 2/28/23 Dep. pp. 95, 142-143)

       93.    Officer Mensah did not have time to ask any additional information from Anderson

because Anderson was already reaching for the firearm and Officer Mensah could not get him to

stop. (Mensah 2/28/23 Dep. p. 93)



                                               15
       Case 2:21-cv-00848-LA          Filed 07/24/23    Page 15 of 17       Document 79
       94.     Throughout his career, Officer Mensah has received training in defense and arrest

tactics, use of force justifications, firearms and at all relevant times, maintained his certification

through the state of Wisconsin. (Mensah 3/17/22 Dep. pp. 40-42, 76, 102-107, 120; see also Roy

Decl. ¶ 19; Exh. J, Mensah Training records)

       95.     The State of Wisconsin established the Law Enforcement Standards Board (LESB)

to prescribe minimum requirements for police officer training. The LESB issued regulations

governing police officer training standards in such areas as Defense and Arrest Tactics (DAAT)

and effecting an arrest. (Roy Decl. ¶¶ 18-20; Roy Decl. Exh. J)

       96.     Officer Joseph Mensah met or exceeded the minimum training requirements

established by the State of Wisconsin to be certified as a Police Officer and had maintained his

respective certifications throughout their employment with the City of Wauwatosa. (Roy Decl. ¶¶

18-20; Roy Decl. Exh. J)

       Additional Relevant Factual Findings

       97.     At the time of the shooting, Anderson was in possession of a Ruger model SR9c,

9mm, semi-automatic pistol. (ECF 76, ⁋ 28)




                                                 16
       Case 2:21-cv-00848-LA          Filed 07/24/23       Page 16 of 17      Document 79
       98.    Officer Mensah’s contact with Anderson on June 23, 2016, was not a traffic stop.

(Mensah 2/28/23 Dep. pp. 54, 62-63; Mills Dep. pp. 56-57; Weber 6/6/23 Dep. pp. 95-96)

       99.    The toxicology report ordered during Anderson’s autopsy revealed the presence

of marijuana in his system and a blood alcohol level of .144. (ECF 76-20 p. 3)

       100.   The semi-automatic firearm recovered from Anderson’s vehicle was examined and

found to be loaded with sixteen rounds, including one in the chamber. Anderson’s DNA was also

detected on the handgun. See (ECF 76 ¶ 28 & ECF 76-20)

       Dated at Wauwatosa, Wisconsin this 24th day of July 2023.

                                                    WIRTH + BAYNARD
                                                    Attorneys for Defendants

                                                     /s/ Jasmyne M. Baynard
                                                    Jasmyne M. Baynard, WI Bar No. 1099898
                                                    9898 W. Bluemound Road, Suite 2
                                                    Wauwatosa, Wisconsin 53226
                                                    T: (414) 291-7979 / F: (414) 291-7960
                                                    Email: jmb@wbattys.com




                                               17
       Case 2:21-cv-00848-LA        Filed 07/24/23      Page 17 of 17      Document 79
